      Case 23-41386              Doc 102       Filed 07/15/24 Entered 07/15/24 10:23:54   Desc Main
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                                   THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION
IN RE:                                                     §
                                                           §
SIDHARTHA MUKHERJEE                                        §      CASE NO. 23-41386-R
XXX-XX-1040                                                §
3905 KITE MEADOW DRIVE                                     §      CHAPTER 7
PLANO, TX 75074                                            §
                                                           §
SUNITA MUKHERJEE                                           §
XXX-XX-5871                                                §
                                                           §
DEBTORS                                                    §


                                ORDER DISCHARGING CHAPTER 13 TRUSTEE
                                   IN CASE CONVERTED TO CHAPTER 7
           Upon the conversion of the above-referenced case to a case under Chapter 7 and the filing of
the Chapter 13 Trustee's certification that the Chapter 13 phase of this case has been fully administered
and upon request to be discharged of the duties as the Chapter 13 Trustee for this particular estate, the
Court finds that just cause exists for the entry of the following order.

        IT IS THEREFORE ORDERED that Carey D. Ebert is hereby DISCHARGED of all duties as
the duly-appointed Chapter 13 Trustee in the above-referenced case.


                                                    Signed on 7/15/2024

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                                           HONORABLE BRENDA T. RHOADES,
                                           CHIEF UNITED STATES BANKRUPTCY JUDGE




PLA_Order_DischargingTrustee (Rev 6/10/2014)
